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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                      Case No. 4:07CR00086-22 JMM

DEMETRIUS STUBBS


                       ORDER DENYING SENTENCE MODIFICATION

          Before the Court is Demetrius Stubbs’ Motion for Modification of Federal Sentence filed

pro se. Defendant requests a modification of his sentence pursuant to 18 U.S.C. § 3582(c)(2)

based upon the retroactive application of the crack cocaine penalty reduction enacted by the

United States Sentencing Commission (“Commission”). See Commission Sentencing

Guidelines, Amendment 706 (reducing the guideline range for crack cocaine offenses, effective

November 1, 2007) and Amendment 711 (making Amendment 706 retroactive, effective March

3, 2008). After reviewing the file, the Court concludes that Defendant is not eligible for any

relief.

          Defendant states that he is entitled to relief based on 18 U.S.C. § 3582(c)(2), which

provides the court with the authority to modify a term of imprisonment where the applicable

“sentencing range has subsequently been lowered by the Sentencing Commission.” His reliance

on § 3582 is misplaced, however, because he has already received the benefit of Amendment 706

and is not a defendant to whom Amendment 711 applies.

          Amendment 706 lowered the drug quantity table found in U.S.S.G. § 2D1.1 and used to

compute the base offense level for crack cocaine drug offenses. Amendment 706 took effect on

November 1, 2007. Amendment 711 took effect on March 3, 2008, and made the changes



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implemented by Amendment 706 apply retroactively to those defendants serving a crack cocaine

sentence imposed before November 1, 2007.

       Defendant was sentenced on April 30, 2008, to a 60 month term of imprisonment.

Defendant received a Rule 35 reduction from 60 months to 54 months on April 21, 2009.

His base offense level was 22 based upon a drug quantity of not more than 5 grams and less than

20 grams of cocaine base. Had he been sentenced before November 1, 2007, the same quantity

of cocaine base would have resulted in a base offense level of 24. Thus, Defendant has already

been sentenced based on the lowest available guideline range for crack cocaine offenses.

       Accordingly,

       IT IS HEREBY ORDERED THAT Defendant’s Motion for Modification of Sentence

(Docket no. 731) be, and it is hereby, DENIED.

       IT IS SO ORDERED THIS 5th day of August, 2009.

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                                            UNITED STATES DISTRICT JUDGE




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